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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,                              Criminal No. 09-126(6) (DWF/RLE)

                    Plaintiff,

v.                                                                                 ORDER

Vanessa Marie Sagataw,

                    Defendant.


Clifford B. Wardlaw and Steven L. Schleicher, Assistant United States Attorneys,
United States Attorney’s Office, counsel for Plaintiff.

Derk K. Schwieger, Esq., Derk Karl Schwieger, LLC, counsel for Defendant.


      Based upon the Report and Recommendation of Chief United States Magistrate

Judge Raymond L. Erickson, and after an independent review of the files, records and

proceedings in the above-entitled matter,

      IT IS HEREBY ORDERED that:

      1.     The Defendant’s Motion to Suppress Evidence Obtained from Wire Tap

(Doc. No. 140) is DENIED.

      2.     The Defendant’s Motion to Suppress Search and Seizure Evidence (Doc.

No. 138) is DENIED.

Dated: September 15, 2009                   s/Donovan W. Frank
                                            DONOVAN W. FRANK
                                            United States District Judge
